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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA


                                        CRIMINAL MINUTES

 Date: April 19, 2022             Time: 9:07 – 9:15             Judge: BETH LABSON FREEMAN
                                  Total Time: 8 Minutes
 Case No.: 5:22-cr-00105-BLF-1 Case Name: UNITED STATES v. Shaw

Attorney for Plaintiff: Michael Pitman
Attorney for Defendant: Sam Polverino and Jeremy Blank for Scott Shaw - P/NC

      Deputy Clerk: Tiffany Salinas-Harwell           Reported by: Summer Fisher
      Interpreter: N/A                                Probation Officer: N/A



                                              PROCEEDINGS


STATUS CONFERENCE

Status Conference hearing held.

CASE CONTINUED TO: July 12, 2022, at 9:00 a.m. for Further Status/Trial Setting.



EXCLUDABLE DELAY
Category: Effective Preparation of Counsel
Begins: 4/19/2022
Ends: 7/12/2022


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P/NP: Present, Not Present
C/NC: Custody, Not in Custody                                                      Courtroom Deputy
I: Interpreter                                                                       Original E-Filed
